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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY

                                                              2: 17-MD-2789 (CCC)(MF)
   IN RE: PROTON-PUMP INHIBITOR                                      (MDL 2789)
   PRODUCTS LIABILITY LITIGATION                           and all member and related cases

   This Document Relates to: ALL ACTIONS                         Judge Claire C. Cecchi


                                                       CASE MANAGEMENT ORDER NO.15
                                                            ON MAY 1, 2018 STATUS
                                                                CONFERENCE


          The Court having held a case management conference on May 1, 2018, and after reviewing

  the parties’ submissions and having discussed various case management issues with the parties,

  enters the following ORDER:

          1.     The parties reported that they had reached agreement on a Science Day case

  management order, which was submitted to the Court on May 4, 2018.

          2.     The Court denied Defendants’ motion for the Court to consider general causation

  and preemption before conducting case-specific fact discovery in individual cases. The parties

  shall meet and confer on the Scheduling Order in the form proposed by Plaintiffs.

  Contemporaneously with this, the parties shall meet and confer on the issue of “soft caps” on the

  number of custodial file productions and depositions, and submit agreed-to orders or letters setting

  forth the parties’ respective positions on these matters by June 7, 2018.

         3.      AstraZeneca shall complete its production of its first 10 custodial files pursuant to

  CMONo. 12 by July 31,2018.

         4.      The parties shall meet and confer on additional custodians and shall report to the

  Court on their progress at, or in advance of, the June 12 status conference.
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          5.       Plaintiffs reported that they have reached agreement with the Takeda Defendants

  on search terms. Plaintiffs shall continue to confer with the Pfizer and P&G Defendants on search

  terms and will report to the Court on their progress at, or in advance of, the June 12 status

  conference.

          6.       Plaintiffs continue to meet and confer on the Defendant Fact Sheet (“DFS”) with

  the Takeda, Procter & Gamble, and AstraZeneca Defendants. If the parties are unable to agree,

  they shall submit letters setting forth their respective positions by June 7, 2018.

          7.      The parties shall continue to meet and confer and shall report back to the Court at

  the next status conference if there are outstanding issues relating to any 30(b)(6) depositions or

  dates that need to be scheduled.

         8.       The parties shall submit an order setting forth the service of process procedures

  agreed to between the PSC and Defendants in advance of the next status conference.

         9.       The Court appoints PSC member, Sindhu Daniel, as Liaison Counsel for Pro Se

  Plaintiffs. Ms. Daniel can be contacted at:

                  Baron & Budd, P.C.
                  3102 Oak Lawn Ave., Ste. 1100
                  Dallas, TX 75219
                  (214) 521-3605
                  sdaniel(t;baronhudd .com

         10.      The Court has scheduled an in-person status conference for June 12, 2018 at

  1:00 p.m.     The parties shall submit a joint status report and agenda for that conference by

  June 8, 2018.

  SO ORDERED:

  Dated: Newark, New Jersey                      /                        -




         May \9, 2018
                                                         CLAIRE C. CECCHI
                                                         United States District Judge

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